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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA

   In Re:                                  *
                                           *
   THOMAS K. STEPHENSON                    *              Case No. 19-00149 SMT
                                           *
                                           *
            Debtor                         *                      Chapter 11
                                           *


                     NOTICE OF DEBTOR’S MOTION PURSUANT
                 TO 11 U.S.C § 364 (c) FOR AUTHORITY TO ENTER INTO
             FINANCE AGREEMENT WITH WASHINGTON CAPITAL PARTNERS

            A Motion was filed on behalf of debtor for authority to enter into a finance

   agreement with Washington Capital Partners to obtain a loan. Your rights may be

   affected. You should read these papers carefully and discuss them with your lawyer. A

   copy of the motion is attached.

            If you do not want to grant the motion for authority to enter into the finance

   agreement, or if you want the court to consider your views on the motion, then by July 1,

   2019 you or your lawyer must file with the Clerk of the Bankruptcy Court a response to

   the motion explaining your position and mail a copy of the response to:


            Charles M. Maynard, Esq.
            200-A Monroe Street, Suite #115
            Rockville, MD 20850

            If you mail rather than deliver your response to the Clerk of the Court for filing,

   you must mail it early so that the court will receive it by the date stated above.

            If you do not want the Court to grant the Motion for Authority to Enter into Finance

   Agreement with Washington Capital Partners, or if you want the Court to consider your

   views on the matter, then:
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                  on or before July 1, 2019, you or your attorney must file with the Court a

                  written objection to the Motion for Authority to Enter into Finance

          Agreement with Washington Capital Partners, together with a proposed order

          required by the Local Bankruptcy Rule 9072-1. The objection and proposed order

          must be filed with the Clerk of the Bankruptcy Court for the District of Columbia, E.

          Barrett Prettyman U.S. Courthouse, 333 Constitution Ave, NW, Washington, DC

          20001. You may append affidavits and documents in support of your objection.



          Date: June 17, 2019

                                                         Respectfully submitted,

                                                         /s/ Charles M. Maynard
                                                         Charles M. Maynard
                                                         Law Office of Charles M. Maynard
                                                         200-A Monroe Street, Suite#115
                                                         Rockville, MD 20850
                                                         301-294-6003
                                                         301-294-6004 FAX

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that, to the extent of the following persons not served

   electronically via the CM/ECF system, I caused a copy of the above referenced pleading

   to be sent on this June 17, 2019 date, by first class U.S. mail, postage prepaid to:



   Joseph A. Guzinski
   Assistant United States Trustee
   Office of the United States Trustee
   1725 Duke Street, Suite #650
   Alexandria, VA 22314

   Karen A. Bower, Esq.
   Law office of Karen Bower
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   Washington, DC 20006

   Thomas K. Stephenson
   711 49th Street, NE, Apt #1A
   Washington, DC 2001

                                                       /s/ Charles M. Maynard
                                                       Charles M. Maynard
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